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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA,
Vv. Criminal No. 21-0123 (PLF)
VITALI GOSSJANKOWSKI,
Defendant.
)
ORDER

On March 16, 2023, ajury convicted defendant Vitali GossJankowski of six
counts relating to his conduct at the U.S. Capitol on January 6, 2021. See Amended Verdict
Form [Dkt. No. 163]. Following the verdict, the Court directed the parties to submit a proposed
briefing schedule for post-trial motions. On March 29, 2023, counsel for Mr. GossJankowski
filed a Motion to Withdraw as Counsel (“Mot.”) [Dkt. No. 167]. Counsel informs the Court that
“Mr. GossJankowski has raised concerns about the legal representation being provided to him by
undersigned counsel and has specifically asked that undersigned counsel no longer represent him
in this matter.” Mot. at 1. The Court ordered the government to respond to this motion, and on
April 9, 2023, the government filed a Response to Defendant’s Motion to Withdraw as Counsel
(“Gov’t Resp.”) [Dkt. No. 168]. In its response, the government asks the Court to “set a hearing
and engage in a colloquy with the defendant” and argues that “even following such a colloquy,
[the Court] may find it appropriate to deny the relief requested.” Gov’t Resp. at 1, 7.

The Court has carefully considered the parties’ filings and wishes to schedule a
hearing on the motion to withdraw. Among other things, the Court will engage in a colloquy

with Mr. GossJankowski regarding his legal representation. Accordingly, it is hereby
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ORDERED that the parties shall appear for a motions hearing and status
conference on April 26, 2023 at 2:30 p.m. in Courtroom 29 in the William B. Bryant Annex to

the E. Barrett Prettyman Courthouse at 333 Constitution Avenue N.W., Washington, D.C. 20001.

Onn ZH

PAUL L. FRIEDMAN
United States District Judge

SO ORDERED.

DATE: 4 1y >?
